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                              Hearing Date and Time: October 25, 2018 at 10:00 a.m. (Prevailing Eastern Time)
                              Objection Date and Time: October 22, 2018 at 4:00 p.m. (Prevailing Eastern Time)

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Proposed Attorneys for Debtors
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
In re                                                          :
                                                               :       Chapter 11
SEARS HOLDINGS CORPORATION, et al.,                            :
                                                               :       Case No. 18-23538 (RDD)
                                                               :
                  Debtors. 1                                   :       (Jointly Administered)
----------------------------------------------------------------x




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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116); Kmart Operations
LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc. (6774); A&E Factory
Service, LLC (6695); A&E Home Delivery, LLC (0205); A&E Lawn & Garden, LLC (5028); A&E Signature
Service, LLC (0204); FBA Holdings Inc. (6537); Innovel Solutions, Inc. (7180); Kmart Corporation (9500);
MaxServ, Inc. (7626); Private Brands, Ltd. (4022); Sears Development Co. (6028); Sears Holdings Management
Corporation (2148); Sears Home & Business Franchises, Inc. (6742); Sears Home Improvement Products, Inc.
(8591); Sears Insurance Services, L.L.C. (7182); Sears Procurement Services, Inc. (2859); Sears Protection
Company (1250); Sears Protection Company (PR) Inc. (4861); Sears Roebuck Acceptance Corp. (0535); Sears,
Roebuck de Puerto Rico, Inc. (3626); SRC Sparrow 1 LLC (None); SYW Relay LLC (1870); Wally Labs LLC
(None); Big Beaver of Florida Development, LLC (None); California Builder Appliances, Inc. (6327); Florida
Builder Appliances, Inc. (9133); KBL Holding Inc. (1295); KLC, Inc. (0839); Kmart of Michigan, Inc. (1696);
Kmart of Washington LLC (8898); Kmart Stores of Illinois LLC (8897); Kmart Stores of Texas LLC (8915);
MyGofer LLC (5531); Sears Brands Business Unit Corporation (4658); Sears Holdings Publishing Company, LLC.
(5554); Sears Protection Company (Florida), L.L.C. (4239); SHC Desert Springs, LLC (None); SOE, Inc. (9616);
SRC Sparrow 2 LLC (None); StarWest, LLC (5379); STI Merchandising, Inc. (0188); Troy Coolidge No. 13, LLC
(None); BlueLight.com, Inc. (7034); Sears Brands, L.L.C. (4664); Sears Buying Services, Inc. (6533); SRC O.P.
LLC (None); Kmart.com LLC (9022); Sears Brands Management Corporation (5365); SRC Facilities LLC (None);
and SRC Real Estate (TX), LLC (None). The location of the Debtors’ corporate headquarters is 3333 Beverly Road,
Hoffman Estates, Illinois 60179.


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               NOTICE OF HEARING ON MOTION OF DEBTORS FOR
      INTERIM APPROVAL OF (I) PROCEDURES FOR STORE CLOSING SALES
     AND (II) ASSUMPTION OF THE LIQUIDATION CONSULTING AGREEMENT

                    PLEASE TAKE NOTICE that a hearing on the motion of Sears Holdings

Corporation and its debtor affiliates, as debtors and debtors in possession in the above-captioned

chapter 11 cases (collectively, the “Debtors” and, together with their non-debtor affiliates, the

“Company”), for entry of an interim order pursuant to Rules 2002(a) and 9006(c) of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), of Motion of Debtors for Approval of

(I) Procedures for Store Closing Sales and (II) Assumption of The Liquidation Consulting

Agreement [ECF No. 23] (the “Motion”), will be held before the Honorable Robert D. Drain,

United States Bankruptcy Judge, at the United States Bankruptcy Court for the Southern District

of New York, Courtroom 118, 300 Quarropas Street, White Plains, New York, 10601-4140 (the

“Bankruptcy Court”) on October 25, 2018 at 10:00 a.m. (Eastern Time) (the “Hearing”), or

as soon thereafter as counsel may be heard.

                    PLEASE TAKE FURTHER NOTICE that any responses or objections (the

“Objections”) to the Motion must be filed and received no later than October 22, 2018 at 4:00

p.m. (Eastern Time) (the “Objection Deadline”).




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                    PLEASE TAKE FURTHER NOTICE that any objecting parties are required to

attend the Hearing, and failure to appear may result in relief being granted upon default.


Dated: October 17, 2018
       New York, New York
                                          /s/ Sunny Singh
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                                          and Debtors in Possession




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